Case 4:12-cv-40022-TSH Document 1-1 Filed 02/27/12 Page 1of1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating

JS 44 (Rev. 09/11)

the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS
Susan J. Trainor

(b) County of Residence of First Listed Plaintiff Worcester County
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS

(c) Attorneys (Firm Name, Address, and Telephone Number)

Janie Lanza Vowles, Esq., Law Office of Janie Lanza Vowles, P.C.
12 Main Street, Leominster, MA 01453, 978-534-9771

NOTE:

Attomeys (If Known)

County of Residence of First Listed Defendant

Kimberly A. Rozak,
100 Front Street, Worcester, MA 01608-1477, 508-860-1428

Montachusett Regional Transit Authority;
Karen Cordio; and Donna Landry

Worcester County

(IN U.S. PLAINTIFF CASES ONLY)
IN LAND CONDEMNATION CASES, USE THE LOCATION OF

THE TRACT OF LAND INVOLVED

Esq., Mirick O'Conneli

Il. BASIS OF JURISDICTION (Place an "X” in One Box Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintifp

(For Diversity Cases Only) and One Box for Defendant)
1. U.S. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State M1 & 1 Incorporated or Principal Place o4 m4
of Business In This State
O 2. U.S. Government G4 Diversity Citizen of Another State QO 2 © 2 Incorporated and Principal Place oO 5 05
Defendant (Indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject of a O03 O 3. Foreign Nation o6 O86
Foreign Country
IV. NATURE OF SUT Coes an “X” in One Box Only)
Ls CONTRACT. aE TORTS ce FORFEITURE/PENALTY = BANKRUPTCY: “OTHER STATUTES]
O 110 Insurance PERSONAL INJURY PERSONAL INJURY  {( 625 Drug Related Seizure 0) 422 Appeal 28 USC 158 © 375 False Claims Act
(2 120 Marine 0 310 Airplane O 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal O 400 State Reapportionment
O 130 Miller Act 1 315 Airplane Product Product Liability O 690 Other 28 USC 157 O 410 Antitrust
1 140 Negotiable Instrument Liability 0 367 Health Care/ 0 430 Banks and Banking
(1 150 Recovery of Overpayment {CJ 320 Assault, Libel & Pharmaceutical “SVPROPERTY:RIGHTS |] 0 450 Commerce
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights O 460 Deporiation
© 151 Medicare Act 0 330 Federal Employers’ Product Liability 0 830 Patent O 470 Racketeer Influenced and
O 152 Recovery of Defaulted Liability OQ 368 Asbestos Personal O 840 Trademark Corrupt Organizations
Student Loans 0 340 Marine Injury Product O 480 Consumer Credit
(Excl. Veterans) C345 Marine Product Liability 5 “2 SOCIAL:SECURITY 2] 0 490 Cable/Sat TV
1 153 Recovery of Overpayment Liability PERSONAL PROPERTY a 710 Fair Labor Standards 1 861 HIA (1395ff) 1 850 Securities/Commodities/
of Veteran’s Benefits 1 350 Motor Vehicle O 370 Other Fraud Act O 862 Black Lung (923) Exchange
O 160 Stockholders’ Suits 0 355 Motor Vehicle O 371 Truth in Lending O 720 Labor/Megmt. Relations O 863 DIWC/DIWW (405(g)) | 890 Other Statutory Actions
1 190 Other Contract "Product Liability O 380 Other Personal O 740 Railway Labor Act O 864 SSID Title XVI O 891 Agricultural Acts
195 Contract Product Liability [0 360 Other Personal Property Damage (& 751 Family and Medical 0 865 RSI (405(g)) O 893 Environmental Matters
1 196 Franchise Injury (1 385 Property Damage Leave Act O 895 Freedom of Information
C] 362 Personal Injury - Product Liability 0 790 Other Labor Litigation Act
Med. Malpractice 0 791 Empl. Ret. Inc. O 896 Arbitration
[22 REAL PROPERTY. 6 [6 CIVIL RIGHTS #3). [PRISONER PETITIONS © Security Act 2 FEDERAL-TAX SUITS". | 01 899 Administrative Procedure
O 210 Land Condemnation 0 440 Other Civil Rights O 510 Motions to Vacate 1 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
O 220 Foreclosure G 441 Voting Sentence or Defendant) Agency Decision
(7 230 Rent Lease & Ejectment C7 442 Employment Habeas Corpus: O 871 IRS—Third Party 1 950 Constitutionality of
240 Torts to Land 0 443 Housing/ O 530 General 26 USC 7609 State Statutes
() 245 Tort Product Liability Accommodations O 535 Death Penalty “IMMIGRATION: foes
G 290 All Other Real Property 8 445 Amer. w/Disabilities- | 540 Mandamus & Other a 462 Naturalization ‘Application
Employment 0 550 Civil Rights 0 463 Habeas Corpus -
1 446 Amer. w/Disabilities- | 555 Prison Condition Alien Detainee
Other 0 560 Civil Detainee - (Prisoner Petition)
0 448 Education Conditions of 0 465 Other Immigration
Confinement Actions

V. ORIGIN
(%1 Original
Proceeding

(Place an “X” in One Box Only)

O 2 Removed from
State Court

O 3 Remanded from

m4
Appellate Court

Reinstated or O 5
Reopened

Transferred from
another district
(specifv)

Litigation

O 6 Multidistrict

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Americans With Disabilities Act, 42 U.S.C

- §§ 12101 and Federal Family And Medical Leave Act

Brief description o

f cause:

Failure to grant FMLA leave and refusal to accommodate disability under ADA and termination based on same.

VII. REQUESTED IN QO CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: WYes No
VIII. RELATED CASE(S) gions:
IF ANY (See instructions): Ding DOCKET NUMBER
DATE SIGNATURE OF ORNEY OF
LZ pp 3 / id ) ~~ 5
FOR OFFICE USE ONLY ( Lz
RECEIPT # AMOUNT APPLYING IF JUDGE MAG. JUDGE

